Case 1:21-cv-01112-LY Document1-2 Filed 12/07/21 Page 1of1

Attachment 7 - Civil Cover Sheet & Instructions

CIVIL COVER SHEET

The J8 44 civil cover sheet and the information contained herein neither replace aor supplement the filing and service of pleadings or other papers ast equired by faw, except as
provided by local mules of court. This for, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initinting the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}

_ (a) PLAINTIFFS DEFENDANTS
mm BRIAN COLLISTER TEGNA INC, WFAA TV,

CAROLYN MUNGO AND ELLEN CROOKE
County of Residence of First Lisied Defendant Fairfax { -ounty VIRGINIA

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION €. ASES. USE THE LOCATION OF
THE TRACT OF LAND INVOLVEL

JS 44 (Rev. G6/17)

 

(hb) County of Residence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIFF CASES)

 

NOTE;

(ec) Attorneys (Fin Name, Address, and Telephone Number) Attomeys (if Knowl

PRO SE

 

 

 

HW. BASIS OF JURISDICTION {Phice ant "X" i One Box Oniy} HT. CITIZENSHIP OF PRINCIPAL PARTIES (Pinee at “Xin One Box for Plait?
(For Diversity Cases Ouly} tind Que Box for Defendant}
i US. Government fis Federal Question PTT DEF PTE DEF
Plaintigt {LS, Gavernnent Nota Party Citizen af This State 1 EF tf Incorporated or Brincipa| Place Oa {4
of Business In This State
{12 8.5. Government faa Diversity Ciuzen of Another State C)2 CF 2 incorporated and Pringipal Place Oa 5
Defendant Cndicate Citizenship af Partles in item ii} of Business In Another State
Citizen or Subject of a 113) (23 Foreiga Nation Me Ee
Foreign Country

 

 

 

   

IV.

NATURE OF SUIT {Place ait
ONTRACT::
FE] 119 Inserance

0 120 Marine

E1136 Miller Act

01 [40 Negotiable Instrument
(150 Recevery of Overpayment

x int One Box Ouiy) Cc

 
     

TORPELTERE/PENALTY:
[4625 Drug Related Seizure

of Property 21 USC 88
(1690 Onher

  

 

 

 

£2) 375 False Claims Act

FE] 376 Qui Tam (34 USC
3729(a))

(1 400 State Reapportionment

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(423 Withdrawat
28 USC LS7

PERSONAL INJURY
(C310 Airplane
Cy 315 Adiplane Product
Liability
TJ} 320 Assault, Libel &

PERSONAL INJURY
(71 365 Personal Injury ~
Product Liability
[1] 367 Health Carer
Pharmaceutical

 

 

  

& Enforcement of Judgment Slander Personal Eajury Cia20 Copyrights (1D 436 Banks and Banking
(151 Medicare Act (Ct 330 Feder] Employers’ Product Liability (1830 Patent [1 450 Commerce
[2] 152 Recovery af Defaulted Liability 1 368 Asbestos Personal (835 Patent - Abbreviated 1] 466 Deportation

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(Excludes Veterans) (Ct 345 Maritie Product Liabiluly 840 Trademark Conupt Organizations
(1153 Recovery of Overpayment Liability PERSONAL PROPERTY ( 9) 480 Consumer Credit

   

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[2 166 Stockholders’ Suits D0 358 Motor Vehicle 0 37! Froth in Lending Act (C862 Black Lung (923) EF] 856 Securities‘Commoditiess
(J 196 Other Contract Product Liability (7 380 Other Personal (3720 Labor/Management C83 DIWCDIVW (4usie)} Exchange

£3195 Contract Product Liability [[[] 360 Other Personal Property Damage Relations [2864 SSID Title XVE £4) 890 Other Statutory Actions
DF 196 Franchise Injury 1] 385 Property Danage (740 Railway Labor Act (Chass RSI {405(¢)) (7) 891 Agricultural Acts

DO 893 Enviromental Matters
E] 895 Freedom of Information
SPEDERAL TAX SUITS: Act

1870 Taxes (U.S. Plaintil 1 896 Arbitration

Product Liability [4751 Family and Medical

Leave Act
(3 790 Other Labor Litigation
[7791 Employee Relizement

Hf] 362 Personal Injury ~
alp

    

     
     

a0 Land Condemnation L) 440 Other Civil Rights Habeas Corpus:

1] 220 Foreclosure HT] 441 Voting (F463 Alien Detainee Income Security Act or Defendavt) (} 899 Administrative Procedure
171230 Rent Lease & Ejectment Hh] 442 Employment C3510 Motions to Vacate (1871 &S—Third Party Act/Review or Appeal of
11240 Torts to Land Ht”) 443 Housing? Sentence 26 USC 7609 Agency Decision

3 430 General
7 435 Death Penalty

[2] 950 Constitutionality of
Slate Statutes

Accommodiutions
71 445 Amer, wiDisabilities -

TJ) 245 Tort Product Liability
£1) 290 AU Other Real Property

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Employment Other: Lies Naturtizalion Application

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Other [2 559 Civit Rights Actions

 

 

 

i) 448 Education [EF 855 Prison Condition
[3 S60 Civit Detainee -
Conditions ef

Cenfinement

 

 

 

 

 

 

¥. ORIGIN (Place an °X° in Gue Bex Only
fil Original (2 Removed trom
Proceeding State Court

(3) Remnnded from

C14 Reinstated or
Appellate Court

[1] 5 Transferred from
Reopened

Another District
(specifi)
Cite the U.S. Civil Statute under which you are ADEA nor cite jrvisdictional statutes unless diversity):

The Age Discrimination in Employment Act (ADEA) (29 U.S.C, §§ 6274 to 634)

Brief description of cause:

EMPLOYMENT DISCRIMINATION (AGE)

£76 Mulkidistrict
Litigation -
Transfer

(78 Multidistrict
Litigation -
Direct File

 

 

YL CAUSE OF ACTION

 

 

 

 

 

 

VIL REQUESTED IN [_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, P.R.Cw.P. JURY DEMAND: Wl¥es [No
Vi RELATED CASE(S) |
IF ANY Bee insnEOSS UDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY GF RECORD
14/29/21 ” Buson Colbsten (PRO SE)

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING [FP

 

Rev. Ed. October 26, 2017

JUDGE

MAG. JUDGE

45

 

 
